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                                                     December 8, 2021

Honorable Loretta A. Preska
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007
                               Re: United States v. Jose Feliciano
                                        95 Cr. 941(LAP)
                                        01 Cv. 9398 (LAP)

Dear Judge Preska:

        I was appointed to represent Jose Feliciano in connection with filing a successive motion
pursuant to 28 U.S.C. § 2255. I did not represent him previously and am still engaged in
obtaining and reviewing documents in this rather old case, for which the court file has been long
archived. In addition, despite requests to FCC Coleman and due to quarantine restrictions, a
legal call with Mr. Feliciano has not been scheduled. For the aforementioned reasons, additional
time is needed to file a submission on behalf of Mr. Feliciano.

           §   Presently, defense submission is due on January 11, 2021.
           §   No previous request for extension has been made.
           §   I have conferred with AUSA Kaylan E. Lasky.
           §   The government consents to this application.

       Accordingly, I request an enlargement of time of 60 days to confer with Mr. Feliciano,
review the documents in this case, and prepare and file a submission on his behalf.

        Your consideration is greatly appreciated. All best wishes for a healthy and happy new
year.

                                                     Very truly yours,
                                                     Bobbi C. Sternheim
                                               BOBBI C. STERNHEIM
                                  The extension requested above is approved.
cc: AUSA Kaylan E. Lasky          SO ORDERED.
    via ECF
                                  Dated:         January 11, 2021
                                                 New York, New York


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                                  LORETTA A. PRESKA, U.S.D.J.
